                                                                                                  Page 1
                                              IN THE UNITED STATES DISTRICT COURT
                                                    FOR THE EASTERN DISTRICT
                                                     NORTHEASTERN DIVISION




                     UNITED STATES OF AMERICA,                    )
                                                                  )
                                                                  )
                                   Plaintiff,                     )     No: 2:12-CR-58
                                                                  )     Greeneville, Tennessee
                     vs.                                          )     October 18, 2012
                                                                  )     2:18 p.m.
                     ANTHONY LAMONT SINGLETON,                    )
                                                                  )
                                   Defendant.                     )




                                                   TRANSCRIPT OF PROCEEDINGS
                                              BEFORE THE HONORABLE J. RONNIE GREER
                                                  UNITED STATES DISTRICT JUDGE




                     ___________________________________________________________

                                          KRISTIN E. SCHULTZ BURKE, LCR #247
                                           MILLER & MILLER COURT REPORTERS
                                     12804 Union Road, Knoxville, Tennessee 37934
                                      Phone: 865-675-1471 / Fax: 865-675-6398
                                              Email: JMccon3590@aol.com




Electronically signed by Kristin Schultz (001-364-541-6088)                          17f7dbe6-0334-4ffb-ba2b-f93c9ce823d6
                                                                                                     Page 2
              1       APPEARANCES:

              2
                      For the Plaintiff:                      CARYN L. HEBETS, ESQ.
              3                                               United States Attorney
                                                              Department of Justice
              4                                               220 Depot Street, Suite 423
                                                              Greeneville, Tennessee 37743
              5

              6
                      For the Defendant:                      JEFFREY D. JOHNSON, ESQ.
              7                                               128 East Market Street
                                                              Johnson City, Tennessee 37604
              8

              9       Also Present:
                           Anthony Lamont Singleton
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              1                            This above-styled cause came to be heard on the

              2       18th day of October, 2012, in the United States District

              3       Court for the Eastern District of Tennessee, Northeastern

              4       Division, the Honorable J. Ronnie Greer presiding.

              5                            THE COURT:         Please call this case, Madam Clerk.

              6                            THE DEPUTY CLERK:         This is USA vs. Anthony

              7       Lamont Singleton, Case Number 2:12-CR-58.

              8                            Please raise your right hand.

              9                            Do you solemnly swear that you will true answer

            10        make to the questions asked of you at this present inquiry

            11        as you shall answer unto God?

            12                             MR. SINGLETON:         I do, ma'am.

            13                             THE COURT:         Mr. Singleton, before we begin, you

            14        were brought into the courtroom right at the end of what

            15        your attorney was saying to me.                      You will recall we were

            16        here about a week ago and that Mr. Johnson did not appear

            17        at that time.                  He was explaining to me that because of a

            18        computer malfunction, he did not receive timely notice of

            19        that hearing --

            20                             MR. SINGLETON:         Yes.

            21                             THE COURT:         -- and therefore was not here.        I

            22        trust he has explained that to you and that you understand

            23        what happened at that time?

            24                             MR. SINGLETON:         Yes, sir, I do.

            25                             THE COURT:         All right.    Mr. Singleton, you are



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              1       charged in a one-count Indictment in this case with being

              2       a felon in possession of a firearm, it looks like a

              3       firearm and ammunition, in violation of Title 18 United

              4       States Code §922(g)(1).                    It appears from the record in

              5       this case that you have now entered into a Plea Agreement

              6       with the United States and I understand that pursuant to

              7       the Plea Agreement you wish to change your plea this

              8       afternoon to a plea of guilty as to the one-count

              9       Indictment returned by the Grand Jury in this case.

            10                             Is that correct?

            11                             MR. SINGLETON:         I do, sir.

            12                             THE COURT:         Before I can accept that guilty

            13        plea, there are several questions I need to ask you to

            14        assure that your plea is a valid one.                    If you do not

            15        understand any question, please ask me to explain it to

            16        you, and you may confer with your attorney on any question

            17        if you find it necessary to do so.

            18                             Do you understand that?

            19                             MR. SINGLETON:         I do, sir.

            20                             THE COURT:         Do you understand that you are now

            21        under oath and that if you answer any of my questions

            22        falsely, your answers may be used against you in another

            23        criminal prosecution for perjury or for making a false

            24        statement?

            25                             MR. SINGLETON:         I do, sir.



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                                                                                                     Page 5
              1                            THE COURT:         How old are you, Mr. Singleton?

              2                            MR. SINGLETON:         Thirty-seven.

              3                            THE COURT:         What education do you have?

              4                            MR. SINGLETON:         I've got a G.E.D.

              5                            THE COURT:         Are you able to read and write

              6       without difficulty?

              7                            MR. SINGLETON:         Yes, sir.

              8                            THE COURT:         Are you now being treated or have

              9       you recently been treated for any mental illness or

            10        addiction to narcotics drugs of any kind?

            11                             MR. SINGLETON:         No, sir.

            12                             THE COURT:         Have you taken any drugs, medicine,

            13        pills or alcoholic beverage of any kind within the last 24

            14        hours?

            15                             MR. SINGLETON:         No, sir.

            16                             THE COURT:         Is there anything about your mental

            17        or your physical condition here today which would make it

            18        difficult for you to think clearly, to understand these

            19        proceedings or to make good decisions about your case?

            20                             MR. SINGLETON:         No, sir.

            21                             THE COURT:         Do you, in fact, understand what is

            22        happening here this afternoon?

            23                             MR. SINGLETON:         I do, sir.

            24                             THE COURT:         Mr. Johnson, do you consider the

            25        Defendant competent to enter this plea of guilty here



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              1       today?

              2                            MR. JOHNSON:         Yes, Your Honor.

              3                            THE COURT:         Mr. Singleton, have you received a

              4       copy of the Indictment returned by the Grand Jury in this

              5       case?

              6                            MR. SINGLETON:         Yes, sir.

              7                            THE COURT:         Have you read the Indictment?

              8                            MR. SINGLETON:         Yes, sir.

              9                            THE COURT:         Have you had sufficient time to

            10        discuss this case with your lawyer?

            11                             MR. SINGLETON:         I have, sir.

            12                             THE COURT:         Have you told your lawyer everything

            13        you know about this case?

            14                             MR. SINGLETON:         I have, sir.

            15                             THE COURT:         Do you believe that your lawyer is

            16        fully aware of all the facts upon which this charge is

            17        based?

            18                             MR. SINGLETON:         Yes, sir.

            19                             THE COURT:         Has your lawyer advised you as to

            20        the nature and meaning of the charge against you in this

            21        case?

            22                             MR. SINGLETON:         Yes, sir.

            23                             THE COURT:         Has your attorney explained to you

            24        the meaning of all words used in this Indictment about

            25        which you had any question?



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                                                                                                     Page 7
              1                            MR. SINGLETON:         Yes, sir.

              2                            THE COURT:         Has your attorney advised you as to

              3       each and every element of this offense which the

              4       Government must prove beyond a reasonable doubt before you

              5       could be convicted of this offense?

              6                            MR. SINGLETON:         Yes, sir.

              7                            THE COURT:         As I indicated, Mr. Singleton, the

              8       Indictment returned by the Grand Jury in this case is a

              9       one-count Indictment.                    You are charged in that one-count

            10        Indictment as follows:

            11                             "The Grand Jury charges that on or about June

            12        13, 2011, in the Eastern District of Tennessee, the

            13        Defendant, Anthony Lamont Singleton, having been convicted

            14        in a court of a crime punishable by imprisonment for a

            15        term exceeding one year, did knowingly possess in commerce

            16        and affecting commerce a firearm and ammunition, namely, a

            17        Phoenix Arms Model Raven .25 caliber semi-automatic

            18        pistol, a Winchester .25 auto caliber ammunition -- excuse

            19        me.       It doesn't say how much ammunition.              It just says

            20        "ammunition" -- and Remington .25 caliber auto caliber

            21        ammunition, which had all been shipped and transported in

            22        interstate commerce of violation of Title 18 United States

            23        Code §922(g)(1) and 924(e)(1)."

            24                             Do you understand that is what you're charged

            25        with in this one-count Indictment?



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                                                                                                     Page 8
              1                            MR. SINGLETON:         Yes, sir.

              2                            THE COURT:         Do you understand that before you

              3       could be convicted of the charge contained in this one

              4       Indictment, the United States would be required to prove

              5       beyond a reasonable doubt each of the following elements:

              6       First, that you were convicted in any court of a crime

              7       punishable by imprisonment for a term exceeding one year;

              8       second, that you thereafter knowingly possessed the

              9       firearm and the ammunition described in Count 1 of the

            10        Indictment; and, third, that the firearm and ammunition

            11        previously had been shipped or transported from one state

            12        to another?

            13                             MR. SINGLETON:         I do, sir.

            14                             THE COURT:         Have you and your attorney discussed

            15        any possible defenses you might have to this charge?

            16                             MR. SINGLETON:         Yes, sir.

            17                             THE COURT:         As I said earlier, Mr. Singleton, I

            18        understand there is a Plea Agreement in this case.                      Have

            19        you read this Plea Agreement?

            20                             MR. SINGLETON:         I have, sir.

            21                             THE COURT:         Has your attorney explained to you

            22        all the terms and conditions of the Plea Agreement you

            23        entered into with the Government?

            24                             MR. SINGLETON:         Yes, sir.

            25                             THE COURT:         Do you fully understand all the



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                                                                                                     Page 9
              1       terms and conditions of this agreement you made with the

              2       Government?

              3                            MR. SINGLETON:         Yes, sir.

              4                            THE COURT:         Is this your signature on this Plea

              5       Agreement filed with the Court as Document 18?

              6                            MR. SINGLETON:         It is.

              7                            THE COURT:         Are you satisfied with the way your

              8       lawyer, Mr. Johnson, has represented you in this matter?

              9                            MR. SINGLETON:         Yes, sir.

            10                             THE COURT:         Mr. Johnson, are you satisfied that

            11        Mr. Singleton understands this charge, the elements of the

            12        offense charged, and the legal meaning of all words used

            13        in this Indictment?

            14                             MR. JOHNSON:         He does, Your Honor.

            15                             THE COURT:         Mr. Singleton, by entering a plea of

            16        guilty here today, you will waive or give up certain

            17        rights that you have as a criminal defendant in this

            18        matter.            I need to ask you a series of questions to make

            19        sure that you understand the rights you are giving up as

            20        they relate to a trial by entering this guilty plea here

            21        this afternoon.

            22                                       First of all, do you understand that you

            23        have a right to plead not guilty to any offense charged

            24        against you and to persist in that not guilty plea?

            25                             MR. SINGLETON:         Yes, sir.



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                                                                                                    Page 10
              1                            THE COURT:         Do you understand that you would

              2       then have the right to a trial by jury?

              3                            MR. SINGLETON:         Yes, sir.

              4                            THE COURT:         Do you understand that during that

              5       jury trial you would have the right to the assistance of

              6       counsel for your defense, counsel appointed by the Court

              7       and paid for by the Government, if you could not afford to

              8       hire your own attorney?

              9                            MR. SINGLETON:         Yes, sir.

            10                             THE COURT:         Do you understand that during that

            11        jury trial you would have the right to see and hear the

            12        Government's witnesses against you and have those

            13        witnesses cross-examined by your attorney in your defense?

            14                             MR. SINGLETON:         Yes, sir.

            15                             THE COURT:         Do you understand that you would

            16        have the right on your own part not to testify at trial

            17        unless you choose to do so in your own defense?

            18                             MR. SINGLETON:         Yes, sir.   I understand that.

            19                             THE COURT:         And do you understand that you would

            20        have the right to the issuance of subpoenas to compel the

            21        attendance of witnesses, even unwilling witnesses, to

            22        testify on your behalf at trial?

            23                             MR. SINGLETON:         Yes, sir.

            24                             THE COURT:         Very importantly, Mr. Singleton, do

            25        you understand that by entering a plea of guilty here



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              1       today, if the plea is accepted by the Court, you will have

              2       given up your right to a trial in this case --

              3                            MR. SINGLETON:         Yes, sir.

              4                            THE COURT:         -- and there will, in fact, be no

              5       trial in your case?

              6                            MR. SINGLETON:         Yes, sir.

              7                            THE COURT:         Do you understand that by entering a

              8       plea of guilty you will not only given up your right to a

              9       trial of any kind, but you will also be giving up your

            10        right with respect to all these other rights associated

            11        with a trial that I have just described to you?

            12                             MR. SINGLETON:         Yes, sir.

            13                             THE COURT:         Do you understand you will also be

            14        giving up your right not to be compelled to incriminate

            15        yourself?

            16                             MR. SINGLETON:         Yes, sir.

            17                             THE COURT:         Do you understand that you will be

            18        giving up the right to require the United States to prove

            19        you guilty beyond a reasonable doubt?

            20                             MR. SINGLETON:         I do, sir.

            21                             THE COURT:         Has any person, including an officer

            22        or agent of the Government, put any pressure on you,

            23        mentally or physically, to force you to plead guilty in

            24        this case?

            25                             MR. SINGLETON:         No, sir.



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                                                                                                   Page 12
              1                            THE COURT:         I'm aware, Mr. Singleton, that the

              2       Government has made certain promises to you in this Plea

              3       Agreement that you have entered into; but aside from any

              4       promise contained in this Plea Agreement, has any officer

              5       or agent of the Government promised you or suggested to

              6       you that you will receive a lighter sentence or any other

              7       form of leniency if you plead guilty?

              8                            MR. SINGLETON:         No, sir.

              9                            THE COURT:         What I'm really asking you,

            10        Mr. Singleton, is whether or not any promise has been made

            11        to you by the Government that is not reflected in this

            12        Plea Agreement or the Supplement to the Plea Agreement?

            13                             MR. SINGLETON:         Explain that to me.

            14                             THE COURT:         I want to make sure, Mr. Singleton,

            15        that all of your agreement with the Government has been

            16        committed to writing --

            17                             MR. SINGLETON:         Yes, sir.

            18                             THE COURT:         -- and is reflected in either this

            19        Plea Agreement or the supplement that has been filed?

            20                             MR. SINGLETON:         Yes, sir.   It is.

            21                             THE COURT:         So my question to you is whether or

            22        not there is any promise that has been made to you by an

            23        agent or officer of the Government that is not reflected

            24        in this Plea Agreement.

            25                             MR. SINGLETON:         No, sir.



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                                                                                                   Page 13
              1                            THE COURT:         Once again, other than the promises

              2       contained in the Plea Agreement, have any promises or

              3       threats of any kind been made by anyone to induce you to

              4       plead guilty in this case?

              5                            MR. SINGLETON:         No, sir.

              6                            THE COURT:         In other words, is it your free and

              7       voluntary decision to enter this guilty plea here today?

              8                            MR. SINGLETON:         It is, sir.

              9                            THE COURT:         Mr. Singleton, I now state for the

            10        record that the Court will review the Plea Agreement in

            11        this case.               I advise both you and counsel that I am not

            12        required to accept this Plea Agreement and that I will

            13        defer my decision on whether or not to accept or reject

            14        your Plea Agreement until after I have received a

            15        Presentence Report from the United States Probation

            16        Office.            However, if I do reject this Plea Agreement, you

            17        will be so advised here in open court and you will be

            18        permitted to withdraw your guilty plea.

            19                             Do you understand that?

            20                             MR. SINGLETON:         I do, sir.

            21                             THE COURT:         Mr. Singleton, one of the things I

            22        have to do here this afternoon before I can accept this

            23        guilty plea is to determine whether or not there is an

            24        adequate factual basis for the guilty plea.                    In other

            25        words, I need to determine that you have admitted



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              1       sufficient facts from which the Court can find that all

              2       the elements of this offense have been established beyond

              3       a reasonable doubt.

              4                            It appears that in an effort to provide the

              5       required factual basis you have entered into a Stipulation

              6       of Facts, which is contained in this Plea Agreement at

              7       Paragraph 4 of the Plea Agreement.

              8                            Did you read Paragraph 4 of this Plea Agreement

              9       very carefully?

            10                             MR. SINGLETON:         Yes, sir.

            11                             THE COURT:         Did you review the provisions in

            12        Paragraph 4, that is, the Stipulation of Facts, carefully

            13        with your attorney?

            14                             MR. SINGLETON:         Yes, sir.

            15                             THE COURT:         Do you agree with the Government's

            16        summary or with the summary of what you did in this case

            17        that is set out in Paragraph 4 of this Plea Agreement?

            18                             MR. SINGLETON:         I do, sir.

            19                             THE COURT:         Are all the facts contained in

            20        Paragraph 4 of your Plea Agreement true?

            21                             MR. SINGLETON:         Yes, sir.

            22                             THE COURT:         Do you stipulate here today under

            23        oath that the facts contained in Paragraph 4 of this Plea

            24        Agreement are true and correct?

            25                             MR. SINGLETON:         Yes, sir, they are.



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                                                                                                    Page 15
              1                            THE COURT:         I also note here, Mr. Singleton,

              2       that Paragraph 4 of this Plea Agreement provides that the

              3       stipulated facts do not necessarily constitute all of the

              4       facts in this case.

              5                            Do you understand that?

              6                            MR. SINGLETON:         Yes, sir.

              7                            THE COURT:         Do you understand that there may be

              8       other facts relevant to sentencing which the Court will

              9       consider at the time of your sentencing in this case?

            10                             MR. SINGLETON:         I do.

            11                             THE COURT:         All right.   Mr. Singleton, how do

            12        you plead then as to this one-count Indictment which

            13        charges you with being a felon in possession of a firearm

            14        and ammunition in violation of Title 18 United States Code

            15        §922(g)?

            16                             Do you plead guilty or not guilty?

            17                             MR. SINGLETON:         I plead guilty, sir.

            18                             THE COURT:         Do you understand what it is you're

            19        pleading guilty to?

            20                             MR. SINGLETON:         I do, sir.

            21                             THE COURT:         Are you offering to plead guilty to

            22        this offense because you are, in fact, guilty of the

            23        offense?

            24                             MR. SINGLETON:         I am.

            25                             THE COURT:         All right.   Ms. Hebets, will the



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              1       Government please advise Mr. Singleton as to the maximum

              2       possible penalty provided by the law for this offense?

              3                            MS. HEBETS:         Yes, Your Honor.

              4                            If the Defendant is not determined to be an

              5       armed career criminal, the maximum penalty is up to ten

              6       years imprisonment, a $250,000.00 fine, and up to three

              7       years on supervised release, plus a $100.00 special

              8       assessment fee.

              9                                      If the Defendant is determined to be an

            10        armed career criminal, the punishment is a minimum of 15

            11        years in prison, up to life imprisonment, a $250,000.00

            12        fine, up to five years on supervised release, and a $100.00

            13        special assessment fee.

            14                             THE COURT:         Thank you, Ms. Hebets.

            15                             Now, Mr. Singleton, it appears that the maximum

            16        sentence to which you are exposed in this case depends

            17        upon whether or not you are an armed career criminal as

            18        that term is defined in federal law.                    Title 18 United

            19        States Code §924(e) provides that a person who commits a

            20        violation of §922(g), that is, the felon in possession

            21        statute, and who has three previous convictions by any

            22        court for a violent felony or a serious drug offense or

            23        both committed on occasions different from one another

            24        shall be subject to a mandatory minimum term of at least

            25        15 years of imprisonment and a maximum term of life



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              1       imprisonment.                  The statute defines the term "serious drug

              2       offense" as an offense under the Controlled Substances

              3       Act, that is, Title 21 United States Code §801 or the

              4       sections that follow, which carries a maximum term of

              5       imprisonment of ten years or more, or an offense under

              6       state law involving the manufacturing, distributing or

              7       possessing with intent to manufacture or distribute a

              8       controlled substance for which a maximum term of

              9       imprisonment of ten years or more is prescribed by state

            10        law.

            11                             The term "violent felony" under the statute

            12        means any crime punishable by imprisonment for a term

            13        exceeding one year or any act of juvenile delinquency

            14        involving the use or carrying of a firearm, knife or

            15        destructive device that would be punishable by

            16        imprisonment for such term if committed by an adult that

            17        has as an element the use, attempted use or threatened use

            18        of physical force against the person of another or is a

            19        burglary, arson or extortion, involves the use of

            20        explosives or otherwise involves conduct that presents a

            21        serious potential risk of physical injury to another.

            22                             The short of all that is this, Mr. Singleton.

            23        First of all, do you understand that if you are determined

            24        not to be an armed career criminal, you will face a

            25        maximum term of imprisonment in this case of ten years?



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                                                                                                   Page 18
              1                            MR. SINGLETON:         I do, sir.

              2                            THE COURT:         If you are subsequently determined

              3       to be an armed career criminal under the definitions that

              4       I just gave you, do you understand that in that case you

              5       face a mandatory minimum term of 15 years of imprisonment

              6       up to a maximum term of life imprisonment?

              7                            MR. SINGLETON:         I do.

              8                            THE COURT:         Do you understand that the Court

              9       cannot determine whether or not you are an armed career

            10        criminal within the meaning of §924(e)(1) until after a

            11        Presentence Report has been completed by the United States

            12        Probation Office?

            13                             MR. SINGLETON:         Yes, sir.

            14                             THE COURT:         Do you understand that before I make

            15        that determination, you will have an opportunity to object

            16        to any conclusions that the probation officer reaches in

            17        that respect?

            18                             MR. SINGLETON:         Yes.

            19                             THE COURT:         As I indicated, Mr. Singleton, if

            20        you are determined to be an armed career criminal, you

            21        will face a 15-year mandatory minimum term of imprisonment

            22        in this case.                  In other words, this court because of the

            23        statute will have no discretion other than to impose a

            24        15-year non-parolable term of imprisonment in the case.

            25                             Do you understand that absent a Government



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                                                                                                   Page 19
              1       motion for downward departure or some other very

              2       extraordinary circumstance in this case this court will

              3       have no discretion to impose a sentence that is less than

              4       the 15-year mandatory minimum sentence set by statute if

              5       you are ultimately determined to be an armed career

              6       criminal?

              7                            MR. SINGLETON:         Yes, sir.

              8                            THE COURT:         I know that you have discussed that

              9       eventuality with Mr. Johnson, and I'm sure Mr. Johnson has

            10        given you the best advice that he could give you with

            11        respect to whether or not you qualify as an armed career

            12        criminal; but do you understand that that decision is

            13        ultimately one for this court not your lawyer to make?

            14                             MR. SINGLETON:         Yes, sir.

            15                             THE COURT:         With respect to whatever advice your

            16        attorney may have given you on that point, do you

            17        understand that this court is not bound by your attorney's

            18        advice on that issue?

            19                             MR. SINGLETON:         Yes, sir.

            20                             THE COURT:         Do you understand that if you are

            21        later determined to be an armed career criminal, that

            22        will not be the basis for you being allowed to withdraw

            23        this guilty plea?

            24                             MR. SINGLETON:         Yes, sir.

            25                             THE COURT:         Mr. Regalia also indicated to you



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                                                                                                      Page 20
              1       what the maximum fine in terms of supervised release were

              2       and that you were subject to a $100.00 mandatory

              3       assessment, do you understand that is the maximum with

              4       respect to the fine, the term of supervised release and

              5       the assessment as well?

              6                            MR. SINGLETON:          Yes, sir.

              7                            THE COURT:          Do you also understand that, in

              8       appropriate cases, the Court must order restitution and

              9       that certain of your property may be subject to forfeiture

            10        because of this guilty plea?

            11                             MR. SINGLETON:          Yes, sir.

            12                             THE COURT:          If your plea is accepted,

            13        Mr. Singleton, you will be adjudged of a felony and this

            14        will cause you to lose certain valuable civil rights such

            15        as the right to vote, the right to hold public office, the

            16        right to serve on a jury, and the right to possess any

            17        kind of firearm.

            18                             Knowing those additional penalties, do you still

            19        want to plead guilty?

            20                             MR. SINGLETON:          Yes, sir.

            21                             THE COURT:          Mr. Regal -- I'm sorry.   I started

            22        to say Mr. Regalia.                     He has left.

            23                             Ms. Hebets, has this Defendant waived any appeal

            24        rights or rights to file a §2255 motion in this Plea

            25        Agreement?



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                                                                                                    Page 21
              1                            MS. HEBETS:         Yes, Your Honor.   Those waivers are

              2       in Paragraph 10 of the Plea Agreement.

              3                            THE COURT:         All right.   Thank you.

              4                            Mr. Singleton, it appears that in this Plea

              5       Agreement, at Paragraph 10, you have waived certain rights

              6       to file a direct appeal or to collaterally attack your

              7       conviction or the resulting sentence in this case.

              8                            First of all, as a general matter, do you

              9       understand that this Plea Agreement you have entered into

            10        with the Government expressly waives certain rights to

            11        appeal or to collaterally attack your conviction or the

            12        sentence imposed in this case?

            13                             MR. SINGLETON:         Yes, sir.

            14                             THE COURT:         Did you read Paragraph 10 of this

            15        Plea Agreement very carefully?

            16                             MR. SINGLETON:         I did, sir.

            17                             THE COURT:         Did you review Paragraph 10 of this

            18        Plea Agreement carefully with your attorney?

            19                             MR. SINGLETON:         Yes, sir.

            20                             THE COURT:         Have you and your attorney fully

            21        discussed these waivers of your rights to appeal and your

            22        right to collaterally attack your conviction or resulting

            23        sentence in this case?

            24                             MR. SINGLETON:         Yes, sir.

            25                             THE COURT:         Is there an issue, Mr. Johnson?



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                                                                                                     Page 22
              1                            Mr. Johnson, is there an issue?

              2                            MR. JOHNSON:          No, Your Honor.   I was asking him

              3       one question concerning the armed career criminal status.

              4                            THE COURT:          All right.

              5                            Mr. Singleton, you told me that you have read

              6       these waivers and that you have reviewed them carefully

              7       with your attorney.                     Let me make sure more specifically

              8       that you understand what you have waived here.

              9                            With respect to your right to file a direct

            10        appeal, Paragraph 10 of this Plea Agreement provides that

            11        you agree not to file a direct appeal except in the

            12        situation where this court imposes a sentence above the

            13        guideline range as determined by the District Court or

            14        above any mandatory minimum sentence deemed applicable by

            15        the District Court, whichever is greater.

            16                             Do you understand that?

            17                             MR. SINGLETON:         Yes, sir.

            18                             THE COURT:         Do you understand that that means

            19        that at some point later in these proceedings after I have

            20        received a Presentence Report from the probation office, I

            21        will determine the guideline range which applies to this

            22        case, and this appellate waiver, that is, this waiver of

            23        your right to file a direct appeal, will apply unless I

            24        impose a sentence above that guideline range or above the

            25        mandatory minimum, which could be 15 years, whichever one



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              1       applies in this case?

              2                            Do you understand that?

              3                            MR. SINGLETON:         Yes, sir.

              4                            THE COURT:         Let me make sure one other thing.

              5       It appears to me that with that language, that you also

              6       waive your right to challenge this Court's determination

              7       about whether or not you are an armed career criminal.

              8                            Do you understand that?

              9                            MR. SINGLETON:         (No audible response.)

            10                             THE COURT:         All right.    Mr. Singleton, let me

            11        make sure you understand this process.                      One of the things

            12        I will do at the end of this hearing today is to direct

            13        the probation office to prepare a Presentence Report.

            14                             MR. SINGLETON:         Yes, sir.

            15                             THE COURT:         Among other things, they will gather

            16        information for the Court about your prior criminal

            17        record.

            18                             MR. SINGLETON:         Uh-huh.

            19                             THE COURT:         The probation office will make a

            20        preliminary determination about whether or not you, in

            21        fact, have three prior convictions for either a violent

            22        felony or a serious drug offenses as I have indicated to

            23        you.

            24                             MR. SINGLETON:         Right.

            25                             THE COURT:         Depending upon what that



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              1       determination is, for instance, if the probation office

              2       decides you are, in fact, an armed career criminal, you

              3       will have an opportunity to challenge that or object to

              4       it.

              5                            Do you understand that?

              6                            MR. SINGLETON:         Yes, sir.

              7                            THE COURT:         Ultimately, this court will make a

              8       determination about whether or not you are an armed career

              9       criminal and therefore whether the mandatory minimum

            10        applies.

            11                             Do you understand that you are waiving your

            12        right to appeal this Court's decision on that issue?

            13                             MR. SINGLETON:         Yes, sir.

            14                             THE COURT:         Mr. Singleton, under the Sentencing

            15        Reform Act of 1984, the United States Sentencing

            16        Commission has issued sentencing guidelines for judges to

            17        consider in determining sentencing in criminal cases.                        Use

            18        of these sentencing guidelines is no longer mandatory.

            19        They are advisory sentencing guidelines only.                    However,

            20        your advisory guideline sentencing range is one of the

            21        factors which this court must consider in determining an

            22        appropriate sentence in your case.

            23                             Have you and your attorney talked about how

            24        these advisory guidelines might apply in your case?

            25                             MR. SINGLETON:         Yes, sir.



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                                                                                                   Page 25
              1                            THE COURT:         Do you understand that the Court

              2       cannot determine the advisory guideline sentencing range

              3       which applies to your case and therefore determine an

              4       appropriate sentence in the case until after a Presentence

              5       Report has been completed by the United States Probation

              6       Office and both you and the Government have had an

              7       opportunity to object to or to challenge any of the

              8       contents of that report?

              9                            MR. SINGLETON:         Yes, sir.

            10                             THE COURT:         In addition to your advisory

            11        guideline sentencing range, there are also a number of

            12        other factors which federal law requires the Court to

            13        consider before determining an appropriate sentence in

            14        this case.               Those other factors are set out at Title 18

            15        United States Code §3553(a) and they include the nature

            16        and circumstances of the offense; your history and

            17        characteristics; the need for the sentence imposed to

            18        reflect the seriousness of the offense; to promote respect

            19        for the law; to provide just punishment for the offense;

            20        to afford adequate deterrence to criminal conduct; to

            21        protect the public from further crimes that you might

            22        commit; to provide you with needed educational or

            23        vocational training, medical care or other correctional

            24        treatment in the most effective manner; the kinds of

            25        sentences available; any pertinent policy statements



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                                                                                                   Page 26
              1       issued by the Sentencing Commission; the need to avoid

              2       unwarranted sentence disparities among defendants with

              3       similar records who have been found guilty of similar

              4       conduct; and the need, if any, to provide restitution to

              5       any victims of the offense.

              6                                      Do you understand that this court will

              7       consider all of those statutory factors as well as other

              8       information relevant to sentencing which is called to the

              9       Court's attention by either your attorney or by the United

            10        States' attorney before deciding on an appropriate sentence

            11        in this case?

            12                             MR. SINGLETON:         Yes, sir.

            13                             THE COURT:         Do you also understand that even

            14        after it has been determined what advisory guideline

            15        sentencing range applies to this case, the Court has the

            16        authority to impose a sentence that may be more severe

            17        than the sentence called for in the advisory guidelines?

            18                             MR. SINGLETON:         Yes, sir.

            19                             THE COURT:         In other words, Mr. Singleton, do

            20        you understand that if you are determined not to be an

            21        armed career criminal, this court has the authority,

            22        regardless of what sentence might be suggested by the

            23        advisory guidelines, to impose a ten-year term of

            24        imprisonment in the case?

            25                             MR. SINGLETON:         Yes, sir.



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                                                                                                   Page 27
              1                            THE COURT:         And if you are determined to be an

              2       armed career criminal, do you understand that in that

              3       circumstance, again, regardless of what the advisory

              4       guidelines might suggest, this court has the authority to

              5       impose a life term of imprisonment?

              6                            MR. SINGLETON:         Yes, sir.

              7                            THE COURT:         Understanding all of that, do you

              8       still want to plead guilty here this afternoon?

              9                            MR. SINGLETON:         Yes, sir.

            10                             THE COURT:         Do you also understand that under

            11        some circumstances, you, subject, of course, to these

            12        waivers you have agreed to in this Plea Agreement, or the

            13        Government may have the right to appeal any sentence that

            14        is ultimately imposed in the case?

            15                             MR. SINGLETON:         Yes, sir.

            16                             THE COURT:         Mr. Johnson, have you made any

            17        representation to the Defendant as to what sentence the

            18        Court might impose in this case other than to give him an

            19        estimate as to his advisory guideline sentencing range and

            20        to discuss with him the possible applicability of the

            21        15-year mandatory minimum sentence if he is determined to

            22        be an armed career criminal?

            23                             MR. JOHNSON:         No, Your Honor.

            24                             THE COURT:         Mr. Singleton, with respect to

            25        either of those subjects, do you understand, first of all,



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                                                                                                    Page 28
              1       that your attorney is simply giving you his estimate as to

              2       those matters?

              3                            MR. SINGLETON:         Yes, sir.

              4                            THE COURT:         In other words, he is estimating for

              5       you what your advisory guideline range might be and he is

              6       also giving you his best estimate as to whether or not you

              7       are an armed career criminal?

              8                            MR. SINGLETON:         Yes, sir.

              9                            THE COURT:         And do you understand that this

            10        court is not bound by your attorney's conclusion as to

            11        either of those matters?

            12                             MR. SINGLETON:         Yes, sir.

            13                             THE COURT:         All right.   The Court has observed

            14        the appearance of Mr. Singleton and his responsiveness to

            15        the Court's questions.                    Based upon these observations and

            16        his answers to the Court's questions, the Court finds that

            17        the Defendant is in full possession of his faculties and

            18        is competent to plead guilty; that he is not under the

            19        apparent influence of narcotics, other drugs or alcohol;

            20        that he knowingly waives his constitutional rights to

            21        trial and the other rights accorded to persons accused of

            22        crime; that he understands the nature of the charge to

            23        which the plea is offered and the maximum penalty provided

            24        by law for this offense; and that he has offered to plead

            25        guilty knowingly and voluntarily.



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                                                                                                     Page 29
              1                            Accordingly, Mr. Singleton, your plea of guilty

              2       will be accepted and you are hereby adjudged guilty of

              3       this one-count Indictment which charges you with being a

              4       felon in possession of a firearm and ammunition in

              5       violation of Title 18 United States Code §922(g).

              6                            Counsel, can we also set this sentencing hearing

              7       for April 15th at 1:30?

              8                            MR. JOHNSON:         Is that April 15th, Your Honor?

              9                            THE COURT:         Yes, Mr. Johnson.

            10                             MR. JOHNSON:         Thank you.

            11                             THE COURT:         All right.    Mr. Singleton, I will

            12        schedule a sentencing hearing here for April 15, 2013 at

            13        1:30 p.m. here in this courtroom.                      I will order the

            14        preparation of the Presentence Report we have discussed.

            15        A probation officer will contact you shortly for an

            16        interview that gets that process started.

            17                             It appears from the record in this case that

            18        Mr. Singleton was previously detained by order of the

            19        Magistrate Judge because he is serving a State term of

            20        incarceration.

            21                             I assume, Mr. Johnson, that is still the case?

            22                             MR. JOHNSON:         Yes, sir.

            23                             THE COURT:         For that same reason, Mr. Singleton,

            24        I will order your continued detention in the custody of

            25        the United States Marshal pending further proceedings in



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                                                                                                    Page 30
              1       the case and you will be remanded to the Marshal's

              2       custody.

              3                            MR. SINGLETON:         Okay.

              4                            THE COURT:         Thank you all very much.

              5                            MR. JOHNSON:         Thank you.

              6

              7       (End of proceedings.)

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                                                                                                 Page 31
              1                                               C E R T I F I C A T E

              2       STATE OF TENNESSEE                       )

              3       COUNTY OF GREENE                         )

              4                            I, KRISTIN E. SCHULTZ BURKE, LCR #247, Court

              5       Reporter and Notary Public, in and for the State of

              6       Tennessee, do hereby certify that the above proceedings

              7       were reported by me, transcribed by me, and that the

              8       foregoing 31 pages of the transcript is a true and accurate

              9       record to the best of my knowledge, skills and ability.

            10                             I further certify that I am neither of kin nor of

            11        counsel to any of the parties nor in anywise financially

            12        interested in the outcome of this case.

            13                             I further certify that I am duly licensed by the

            14        Tennessee Board of Court Reporting as a Licensed Court

            15        Reporter as evidenced by the LCR number and expiration date

            16        following my name below.

            17                             IN WITNESS WHEREOF, I have hereunto set my hand

            18        and affixed my Notarial Seal this 20th day of November,

            19        2013.

            20
                                                     _______________________________________
            21                                       Kristin E. Schultz Burke, LCR #247
                                                     Expiration Date: 6/30/2014
            22                                       Notary Public Commission Expires: 12/27/2015
                                                     Miller & Miller Court Reporters
            23                                       12804 Union Road
                                                     Knoxville, TN 37934
            24                                       Phone: 865-675-1471 / Fax: 675-6398

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